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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                               :
In re                                                          :         Chapter 11
                                                               :
RUNWAY LIQUIDATION                                             :         Case No. 17-10466 (SCC)
HOLDINGS, LLC, et al.,1                                        :
                                                               :         Jointly Administered
                  Debtors.                                     :
---------------------------------------------------------------x
                                                               :
RUNWAY LIQUIDATION                                             :
HOLDINGS, LLC,                                                 :
                                                               :         Adv. Pro. No. 17-01101 (SCC)
                  Plaintiff,                                   :
                                                               :
         vs.                                                   :
                                                               :
NYAM, LLC,                                                     :
                                                               :
                  Defendant.                                   :
---------------------------------------------------------------x

                                       INITIAL PRETRIAL ORDER

         Initial disclosures pursuant to Fed.R.Civ.P. 26(a)(1) shall be made on or before fourteen

days of the entry of this Order by the Court.

         Fact discovery shall be completed on or before September 20, 2018.

         Any expert report required pursuant to Federal Rule of Civil Procedure 26(a)(2)(B) shall

be served by the party which bears the burden of proof for that issue no later than October 19,

2018. Any Party’s expert report intended to rebut any other expert report, including any other

expert reports that may be filed earlier than the deadlines, established in this subparagraph, shall

be provided no later than November 16, 2018. All reports shall provide the information required


1
    A list of the Post-Effective Date Debtors in these chapter 11 cases, along with the last four digits of each Post-
    Effective Date Debtor’s federal tax identification number include: Runway Liquidation Holdings, LLC (6857);
    Runway Liquidation, LLC (5942); Runway Liquidation Intermediate Holdings, LLC (3673); MR Liquidation,
    LLC (9200); and MMH Liquidation, LLC (3854).


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by Fed.R.Civ.P. 26(a)(2)(B). All expert discovery shall be completed no later than

December 14, 2018.

 GRIFFIN HAMERSKY LLP                              PACHULSKI STANG ZIEHL & JONES
                                                   LLP

 /s/ Michael D. Hamersky                           /s/ Beth E. Levine
 Scott A. Griffin                                  Robert J. Feinstein
 Michael D. Hamersky                               Bradford J. Sandler
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        mhamersky@grifflegal.com                   Email: rfeinstein@pszjlaw.com
                                                           bsandler@pszjlaw.com
 Counsel to NYAM LLC                                       blevine@psjlaw.com

                                                   Counsel to the Plan Administrator



SO ORDERED:

May 31, 2018


/S/ Shelley C. Chapman
HONORABLE SHELLEY C. CHAPMAN
UNITED STATES BANKRUPTCY JUDGE




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